Case 1:05-cv-01022-.]DT-STA Document 5 Filed 04/18/05 Page 1 of 3 Page|D 1

IN THE UNITED sTATEs DISTRICT CoURT 5 “il'k D.C._
FoR THE WESTERN DIsTRlCT oF TENNESSEE0 APR la m ,_
EASTERN DlvlsloN ;~,,\W_P ` '35
o '/\-»_ ' , _
JoHNNY MARVIN HENNING, § "' LMCKSO/v
l
Petitioner, §
l
VS. § No. 05-1022-T/An
l
ToNY PARKER, §
l
Respondent. §

 

ORDER GRANTING LEAVE TO PROCEED IN FOR]l/LA PA UPERIS
ORDER CORRECTING THE DOCKET
AND
ORDER FOR RESPONDENT TO FILE RECORD AND TO RESPOND

 

Petitioner Johnny Marvin Henning, Tennessee Department of Correction prisoner
number 119491, an inmate at the Northwest Correctional Cornplex (“NWCX”) in
Tiptonville, Tennessee, filed a pro se petition pursuant to 28 U.S.C. § 2254 on January 27,
2005, along With three separate in forma pauperis motions. Based on the information
supplied by the prisoner, the motions to proceed in forma pauperis are GRANTED. The
Clerk shall record the respondent as NWCX warden Tony Parker, and shall remove the State

of Tennessee as a pa.r“cy.l

 

1 Although the petition lists the State of Tennessee as the sole respondent, the proper respondent to a
habeas petition is the petitioner’s custodian, NWCX warden Tony Parker.

Thls document entered on the docket sheet in compliance
with Rule 58 and/or 79 (a) FHCP on

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lt is ORDERED, pursuant to Rule 4 of the Rules Goveming § 2254 Cases, that
respondent Tony Parker file a response to the petition within twenty»three (23) days. The
response shall include the complete trial and appellate record of Henning’ s original case, his
resentencing and his subsequent state petition for collateral relief.

It is further ORDERED, pursuant to Rule 4, that the Clerk shall send a copy of the
petition and this order to Tony Parker and the Tennessee Attorney General and Reporter by

certified mail.

rr ls so oRDERED this l § /day oprril, 2005.

M%/Z)Q»~M

D. TODD
UN ED STATES DISTRICT JUDGE

 

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UNITSTED`ATSE DISTRICT C URT WESTER D"ISRICT oF TNNESSEE

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 1:05-CV-01022 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

Johnny Marvin Henning
l l 949 l

960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

